                20-22948-rdd
     Fill in this                      Doc
                  information to identify your1case:
                                                   Filed   08/19/20 Entered 08/19/20 16:42:22                            Main Document
                                                                  Pg 1 of 62
     United States Bankruptcy Court for the:

     ____________________
     Southern              District
              District of New       of _________________
                                 York  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔   Chapter 11
                                                               Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Soundview    Preparatory School
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               370 Underhill Avenue                                     _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Yorktown Heights              NY    10598
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Westchester County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.soundviewprep.org
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Soundview Preparatory School
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✔ None of the above



                                           B. Check all that apply:
                                           
                                           ✔ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.naics.com/search/ .
                                                8211
                                                _________

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the                Chapter 7
      debtor filing?
                                            Chapter 9
                                           
                                           ✔ Chapter 11. Check all that apply:

                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                        income tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                         The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                            statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________

     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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              Soundview Preparatory School
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Soundview Preparatory School
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              08/19/2020
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Kelly Fairweather
                                               _____________________________________________               Kelly Fairweather
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Chair of the Board of Trustees
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Erica Aisner
                                               _____________________________________________              Date         08/19/2020
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Erica Aisner
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Kirby Aisner & Curley LLP
                                               _________________________________________________________________________________________________
                                               Firm name
                                                700 Post Road Suite 237
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Scarsdale
                                               ____________________________________________________             NY            10583
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                (914) 401-9500
                                               ____________________________________                              eaisner@kacllp.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                4106084                                                         NY
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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 Fill in this information to identify the case:

                Soundview Preparatory School
  Debtor name _________________________________________________________________

                                          Southern District of New York
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                        2,850,000.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          50,763.77
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         2,900,763.77
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        2,252,194.63
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          381,362.88
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          206,480.59



4. Total liabilities ...........................................................................................................................................................................        2,840,038.10
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
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                                                                    Pg 6 of 62
      Fill in this information to identify the case:

                    Soundview Preparatory School
      Debtor name __________________________________________________________________

                                              Southern District of New York
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):    _________________________                                                                                  amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Mary Ivanyi
1    101 Fairway Green
     Mamaroneck, NY, 10543
                                                                                                                                                     121,042.00


     Bank of America                                                     Credit Card Debt
2    PO Box 15796
                                                                                                                                                     47,840.88
     Wilmington, DE, 19886-5796

     Stacy DeBonis & John Giordano                                       Other
3    3 Thorne Place
                                                                                                                                                     20,756.00
     Rye, NY, 10580


     Madeleine Glick                                                     Other
4    22 Berrybush Lane
                                                                                                                                                     20,756.00
     Hastings on Hudson, NY, 10706


     Marie-Claire & Michael Flynn                                        Other
5    127 Harwood Avenue
                                                                                                                                                     20,089.00
     Sleepy Hollow, NY, 10591

     Bonnie & Scott Silver                                               Other
6    64 Sprucetop Drive
                                                                                                                                                     19,978.00
     Mahopac, NY, 10541-7002


     Diane Cassara-Smith                                                 Other
7    7 Carriage Court
                                                                                                                                                     19,978.00
     Scarsdale, NY, 10583

     Rosaria & John Iannacito                                            Other
8    11 Gainsborough Road
                                                                                                                                                     19,978.00
     Scarsdale, NY, 10563-4811




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
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                                                                   Pg 7 of 62
                      Soundview Preparatory School
    Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                     Name




     Name of creditor and complete              Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code        and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated,   total claim amount and deduction for value of
                                                                             services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
     Deborah & James Notis                                                 Other
9    12 Vista Court
                                                                                                                                                          19,978.00
     Pleasantville, NY, 10570

     Michael Lubin                                                         Other
10 53 Carthage Road
                                                                                                                                                          19,533.00
     Scarsdale, NY, 10583


     Lisa A. Cardile                                                       Other
11 42 Hunt Farm Road
                                                                                                                                                          19,200.00
     Waccabuck, NY, 10597-1102

     Gale & R. George Roberts                                              Other
12 269 Bryant Avenue
                                                                                                                                                          19,200.00
     White Plains, NY, 10605


     Hsiao-Li Chou & John Kaufman                                          Other
13 6 Hudson Terrace
                                                                                                                                                          19,200.00
     Dobbs Ferry, NY, 10522-2104

     Christina Lai & Craig Elkind                                          Other
14 58 Close Road
                                                                                                                                                          19,200.00
     Greenwich, CT, 6831

     Linda Holden-Bryant & Jay Bryant                                      Other
15 70 Undercliff Street
                                                                                                                                                          19,200.00
     Yonkers, NY, 10706

     Rachel & Jeffrey Silva                                                Other
16 24 Putney Road
                                                                                                                                                          18,667.00
     Baldwin Place, NY, 10505

     Ava & Benjamin Kahr                                                   Other
17 22 Western Drive
     Ardsley, NY, 10502                                                                                                                                   14,089.00


     Sprague Energy Solutions                                              Suppliers or Vendors
18 PO Box 5272
     Attn: Service Invoices                                                                                                                               12,456.00
     new York, NY, 10008-5272

     Elizabeth Mallon & Gerard Buckley                                     Other
19 100 Austin Road
     Mahopac, NY, 10541                                                                                                                                   9,222.00


     Silvio. R. J. Landscaping Inc.                                        Suppliers or Vendors
20 PO Box 337
                                                                                                                                                          6,800.00
     Mount Kisco, NY, 10549




    Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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                                                                    Pg 8 of 62
  Fill in this information to identify the case:

               Soundview Preparatory School
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of New York
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Bank of America
    3.1. _________________________________________________  Checking
                                                           ______________________              3
                                                                                               ____    1
                                                                                                      ____    5
                                                                                                             ____   0
                                                                                                                    ____         $______________________
                                                                                                                                   1,072.85
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 49,690.92
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 50,763.77
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
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Debtor            Soundview Preparatory School                     Pg 9 of 62
                 _______________________________________________________         Case number (if known)_____________________________________
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



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                   Soundview Preparatory School
Debtor                                                            Pg 10 of 62
                  _______________________________________________________       Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                        $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


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Debtor
                Soundview Preparatory School                     Pg 11 of 62
               _______________________________________________________         Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture
Miscellaneous Desks, Tables, Chairs - Built-ins, Appliances, and
Miscellaneous Maintenance Tools .                                                                                                Unknown
                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
30 Desktop computers and other technology (2013)                                                                                 Unknown
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
                                                                                                                                 0.00
                                                                                                                               $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
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 Debtor                                                        Pg 12 of 62
                _______________________________________________________      Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________   ____________________    $______________________

    47.2___________________________________________________________         $________________   ____________________    $______________________

    47.3___________________________________________________________         $________________   ____________________    $______________________

    47.4___________________________________________________________         $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________    ____________________    $______________________

    48.2__________________________________________________________         $________________    ____________________    $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________    ____________________    $______________________

    49.2__________________________________________________________         $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




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                  _______________________________________________________         Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Improved Real Property located at:
55.1
       370 Underhill Road,
                                                                                                          Contract of Sale          2,850,000.00
       Yorktown Heights, NY                                                          $_______________     ____________________     $_____________________

55.2

                                                                                     $_______________     ____________________     $_____________________

55.3

                                                                                     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                2,850,000.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
       
       ✔    Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
                                                                                                                                     0.00
    www.soundviewprep.org
    ______________________________________________________________                   $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                0.00
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




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                 _______________________________________________________           Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                       _______________     –   __________________________         =   $_____________________
                                                                       Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                     $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                     $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                      $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                        $_____________________
   ____________________________________________________________                                                                        $_____________________
78. Total of Part 11.
                                                                                                                                       $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

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Debtor            _______________________________________________________  Pg 15 of 62   Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         50,763.77
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               2,850,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         50,763.77                             2,850,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  2,900,763.77                                                                                     2,900,763.77
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




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 Debtor 1                                                            _                 Case number (if known)
               First Name    Middle Name         Last Name



                                                     Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

First Republic Bank                            Checking                            6466

Balance: 49,658.16

Bank of American                               Checking                            4726
Business Investment

Balance: 32.76

Putnam County Bank                             Savings

Balance: 0.00




Official Form 206 A/B                                             Schedule A/B: Property
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  Fill in this information to identify the case:
              Soundview Preparatory School
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of New York

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
  Official Form 206D
  Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                                Describe debtor’s property that is subject to a lien            of collateral.            claim
     Bank of America                                               Improved Real Property located at:
      __________________________________________
                                                                   370 Underhill Road,                                               2,250,000.00
                                                                                                                                   $__________________          2,850,000.00
                                                                                                                                                              $_________________

     Creditor’s mailing address
                                                                   Yorktown Heights, NY
      343 Main Street
      ________________________________________________________
      Danbury, CT 06810
      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                    _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred           __________________            
                                                                   ✔   No
    Last 4 digits of account                                          Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                   As of the petition filing date, the claim is:
    ✔
       Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
    Bank of America, 1st; County of                                   Contingent
    Westchester Industrial Development                                Unliquidated
    Agency, 1st; Town of Yorktown -                                   Disputed
2.2 Creditor’s name                                                Describe debtor’s property that is subject to a lien
     County of Westchester Industrial
     Development Agency                                            Improved Real Property located at:                              $__________________
                                                                                                                                    0.00                      $_________________
                                                                                                                                                               2,850,000.00
      __________________________________________                   370 Underhill Road,
     Creditor’s mailing address                                    Yorktown Heights, NY
      148 Martine Avenue
      ________________________________________________________
      Room 903, White Plains, NY 10601
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                        _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
     No                                                           Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                      No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                                       2.1
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      2,252,194.63
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            3
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                    Name



                                                                                                                                    Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                                  Amount of claim         Value of collateral
                                                                                                                                    Do not deduct the value that supports this
                                                                                                                                    of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                                 Describe debtor’s property that is subject to a lien
     Town of Yorktown - Water Bill
                                                                   Improved Real Property located at:
      __________________________________________                   370 Underhill Road,                                               2,194.63
                                                                                                                                    $__________________      2,850,000.00
                                                                                                                                                            $_________________
     Creditor’s mailing address                                    Yorktown Heights, NY

      ________________________________________________________

      Yorktown Heights, NY 10598
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________             Describe the lien
     Last 4 digits of account
                                                                     __________________________________________________
     number                   _________________
                                                                    Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                  
                                                                    ✔   No
     same property?                                                    Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                    Is anyone else liable on this claim?
               priority?                                            
                                                                    ✔   No
              No. Specify each creditor, including this               Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
           
           ■
               Yes. The relative priority of creditors is              Unliquidated
                                        2.1
                   specified on lines _____                            Disputed


2.__ Creditor’s name                                                Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                    $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                    Describe the lien
     Last 4 digits of account
     number                   _________________                      __________________________________________________


     Do multiple creditors have an interest in the                  Is the creditor an insider or related party?
     same property?                                                    No
      No                                                              Yes

      Yes. Have you already specified the relative                 Is anyone else liable on this claim?
               priority?                                               No
              No. Specify each creditor, including this
                                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                       Contingent
              Yes. The relative priority of creditors is              Unliquidated
                   specified on lines _____                            Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___
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Debtor
               Soundview Preparatory School
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Buchanan Ingersoll & Rooney PC
     501 Grant Street, Ste 200
     Attn: Christopher Schueller, Esq.                                                                                 1
                                                                                                               Line 2. __                    _________________
     Pittsburgh, PA, 15219-4413
     Michael Curti, Esq.
     Harris Beach PLLC
     445 Hamilton Avenue                                                                                               2
                                                                                                               Line 2. __                    _________________
     White Plains, NY, 10601


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
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                                                                                                                                                           3
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   Fill in this information to identify the case:                Pg 20 of 62

   Debtor
                    Soundview Preparatory School
                    __________________________________________________________________

                                           Southern District of New York
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           987.00                     987.00
    Andrea Ayala Flores                                                                                                             $_________________
                                                            Check all that apply.
    9 Rochambeau Drive, Apt. 9F                                Contingent
    Yorktown Heights, NY, 10598                                Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Contributions to employee benefits
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                5
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Ava & Benjamin Kahr                                     As of the petition filing date, the claim is: $______________________
                                                                                                            14,089.00                 2,850.00
                                                                                                                                    $_________________
                                                            Check all that apply.
    22 Western Drive
                                                               Contingent
     Ardsley, NY, 10502                                        Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           19,978.00                 2,850.00
    Bonnie & Scott Silver                                                                                                           $_________________
                                                            Check all that apply.
    64 Sprucetop Drive
                                                               Contingent
                                                               Unliquidated
    Mahopac, NY, 10541-7002                                    Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



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  Debtor         _______________________________________________________     Case number (if known)_____________________________________
                 Name                                          Pg 21 of 62
 Pa rt 1 .    Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                      19,200.00                 2,850.00
                                                                                                        $______________________   $_________________
      Christina Lai & Craig Elkind                      As of the petition filing date, the claim is:
      58 Close Road                                     Check all that apply.
                                                            Contingent
      Greenwich, CT, 6831                                   Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  5
2.____ Priority creditor’s name and mailing address                                                      137.50                     137.50
                                                                                                        $______________________   $_________________
      Craig Colavito
                                                        As of the petition filing date, the claim is:
      21 Maples Avenue
                                                        Check all that apply.

      Chappaqua, NY, 10514
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Contributions to employee benefits
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   5
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  6
2.____ Priority creditor’s name and mailing address                                                       19,978.00                 2,850.00
                                                                                                        $______________________   $_________________
      Deborah & James Notis                             As of the petition filing date, the claim is:
      12 Vista Court                                    Check all that apply.
                                                            Contingent
      Pleasantville, NY, 10570                              Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes

  7
2.____ Priority creditor’s name and mailing address                                                     19,978.00
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    2,850.00
                                                                                                                                  $_________________
      Diane Cassara-Smith
                                                        Check all that apply.
      7 Carriage Court
                                                            Contingent
      Scarsdale, NY, 10583
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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  Debtor          _______________________________________________________    Case number (if known)_____________________________________
                  Name                                         Pg 22 of 62
 Pa rt 1 .    Addit iona l Pa ge


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  8
2.____ Priority creditor’s name and mailing address                                                      9,222.00                  2,850.00
                                                                                                        $______________________   $_________________
       Elizabeth Mallon & Gerard Buckley                As of the petition filing date, the claim is:
       100 Austin Road                                  Check all that apply.
                                                            Contingent
       Mahopac, NY, 10541                                   Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  9
2.____ Priority creditor’s name and mailing address                                                      19,200.00                  2,850.00
                                                                                                        $______________________   $_________________
       Gale & R. George Roberts
                                                        As of the petition filing date, the claim is:
       269 Bryant Avenue
                                                        Check all that apply.

       White Plains, NY, 10605
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  10
2.____ Priority creditor’s name and mailing address                                                       19,200.00                 2,850.00
                                                                                                        $______________________   $_________________
       Hsiao-Li Chou & John Kaufman                     As of the petition filing date, the claim is:
       6 Hudson Terrace                                 Check all that apply.
                                                            Contingent
       Dobbs Ferry, NY, 10522-2104                          Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes

  11
2.____ Priority creditor’s name and mailing address                                                     5,408.38
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    5,408.38
                                                                                                                                  $_________________
      John McArthur
                                                        Check all that apply.
      520 N. Terrace Avenue Unit 1L
                                                            Contingent
      Mount Vernon, NY, 10552
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Contributions to employee benefits
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    5
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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                  Name                                         Pg 23 of 62
 Pa rt 1 .    Addit iona l Pa ge


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  12
2.____ Priority creditor’s name and mailing address                                                      389.00                    389.00
                                                                                                        $______________________   $_________________
       Katrine Bangsgaard & William Kline Jr.           As of the petition filing date, the claim is:
                                                        Check all that apply.
       1109 Davenport Lane                                  Contingent
                                                            Unliquidated
       Yorktown Heights, NY, 10598                          Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  13
2.____ Priority creditor’s name and mailing address                                                      167.00                     167.00
                                                                                                        $______________________   $_________________
       Kimberly Panzanaro
                                                        As of the petition filing date, the claim is:
       1480 Riverview Avenue
                                                        Check all that apply.

       Peekskill, NY, 10566-4811
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  14
2.____ Priority creditor’s name and mailing address                                                       19,200.00                 2,850.00
                                                                                                        $______________________   $_________________
       Linda Holden-Bryant & Jay Bryant                 As of the petition filing date, the claim is:
       70 Undercliff Street                             Check all that apply.
                                                            Contingent
       Yonkers, NY, 10706                                   Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes

  15
2.____ Priority creditor’s name and mailing address                                                     19,200.00
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    2,850.00
                                                                                                                                  $_________________
    Lisa A. Cardile
                                                        Check all that apply.
    42 Hunt Farm Road
                                                            Contingent
    Waccabuck, NY, 10597-1102
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  16
2.____ Priority creditor’s name and mailing address                                                      20,756.00                 2,850.00
                                                                                                        $______________________   $_________________
       Madeleine Glick                                  As of the petition filing date, the claim is:
       22 Berrybush Lane                                Check all that apply.
                                                            Contingent
       Hastings on Hudson, NY, 10706                        Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  17
2.____ Priority creditor’s name and mailing address                                                      20,089.00                  2,850.00
                                                                                                        $______________________   $_________________
       Marie-Claire & Michael Flynn
                                                        As of the petition filing date, the claim is:
       127 Harwood Avenue
                                                        Check all that apply.

       Sleepy Hollow, NY, 10591
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  18
2.____ Priority creditor’s name and mailing address                                                       19,533.00                 2,850.00
                                                                                                        $______________________   $_________________
       Michael Lubin                                    As of the petition filing date, the claim is:
       53 Carthage Road                                 Check all that apply.
                                                            Contingent
       Scarsdale, NY, 10583                                 Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes

  19
2.____ Priority creditor’s name and mailing address                                                     18,667.00
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    2,850.00
                                                                                                                                  $_________________
    Rachel & Jeffrey Silva
                                                        Check all that apply.
    24 Putney Road
                                                            Contingent
    Baldwin Place, NY, 10505
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  20
2.____ Priority creditor’s name and mailing address                                                      19,978.00                 2,850.00
                                                                                                        $______________________   $_________________
       Rosaria & John Iannacito                         As of the petition filing date, the claim is:
       11 Gainsborough Road                             Check all that apply.
                                                            Contingent
       Scarsdale, NY, 10563-4811                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  21
2.____ Priority creditor’s name and mailing address                                                      375.00                     375.00
                                                                                                        $______________________   $_________________
       Shandizet & Kenny Lopez
                                                        As of the petition filing date, the claim is:
       3483 Old Compond Road
                                                        Check all that apply.

       Yorktown Heights, NY, 10598
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes

  22
2.____ Priority creditor’s name and mailing address                                                       20,756.00                 2,850.00
                                                                                                        $______________________   $_________________
       Stacy DeBonis & John Giordano                    As of the petition filing date, the claim is:
       3 Thorne Place                                   Check all that apply.
                                                            Contingent
       Rye, NY, 10580                                       Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured    
                                                         ✔
                                                             No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes

  23
2.____ Priority creditor’s name and mailing address                                                     5,475.00
                                                        As of the petition filing date, the claim is: $______________________
                                                                                                                                    5,475.00
                                                                                                                                  $_________________
    Tom Curley
                                                        Check all that apply.
    55 East Street
                                                            Contingent
    South Salem, NY, 10590
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         Contributions to employee benefits
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                         
                                                         ✔
                                                             No
                                    5
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


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 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.          Total claim              Priority amount


  24
2.____ Priority creditor’s name and mailing address                                                      68,500.00                 8,175.00
                                                                                                        $______________________   $_________________
       Tom Curley                                       As of the petition filing date, the claim is:
       55 East Street                                   Check all that apply.
       South Salem, NY, 10590                               Contingent
                                                            Unliquidated
                                                            Disputed


        Date or dates debt was incurred                  Basis for the claim:

        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________
        Last 4 digits of account
        number      _______________________
                                                        Is the claim subject to offset?
        Specify Code subsection of PRIORITY unsecured
                                    4
        claim: 11 U.S.C. § 507(a) (_____)
                                                        
                                                        ✔    No
                                                            Yes

  25
2.____ Priority creditor’s name and mailing address                                                      900.00                     900.00
                                                                                                        $______________________   $_________________
       Vanessa Wassenar
                                                        As of the petition filing date, the claim is:
       134 Wayforest Drive
                                                        Check all that apply.
       Venice, FL, 34292
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________
                                                         Wages, Salaries, Commissions
                                                         _________________________________

        Last 4 digits of account
                                                        Is the claim subject to offset?
        number _______________________

        Specify Code subsection of PRIORITY unsecured
                                                        
                                                        ✔
                                                             No
                                   4
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


2.____ Priority creditor’s name and mailing address
                                                                                                        $______________________   $_________________
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

                                                         Basis for the claim:
        Date or dates debt was incurred
        _________________________________                _________________________________

        Last 4 digits of account
        number      _______________________              Is the claim subject to offset?

        Specify Code subsection of PRIORITY unsecured       No
        claim: 11 U.S.C. § 507(a) (_____)                   Yes


2.____ Priority creditor’s name and mailing address
                                                        As of the petition filing date, the claim is: $______________________     $_________________
                                                        Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed


                                                         Basis for the claim:
        Date or dates debt was incurred
                                                         _________________________________
        _________________________________

        Last 4 digits of account                         Is the claim subject to offset?
        number      _______________________

        Specify Code subsection of PRIORITY unsecured
                                                            No
        claim: 11 U.S.C. § 507(a) (_____)
                                                            Yes


       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                                7 of ___
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  Debtor        _______________________________________________________       Case number (if known)_____________________________________
                Name                                            Pg 27 of 62
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    ADP Payroll Service                                                                                                        111.36
                                                                                                                             $________________________________
                                                                              Contingent
    1266 E. Main Street                                                       Unliquidated
                                                                              Disputed
    Stamford, CT, 06902                                                                            Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Andy Neuberger                                                         Check all that apply.                               600.00
                                                                                                                             $________________________________
    44 Old Roaring Brook Road                                                 Contingent
                                                                              Unliquidated
    Mt. Kisco, NY, 10549                                                      Disputed
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bank of America                                                                                                            47,840.88
                                                                                                                             $________________________________
                                                                              Contingent
    PO Box 15796                                                              Unliquidated
                                                                              Disputed
     Wilmington, DE, 19886-5796
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Bronx Design Group                                                     Check all that apply.
                                                                                                                               212.00
                                                                                                                             $________________________________
    2914 Westchester Avenue                                                   Contingent
                                                                              Unliquidated
    Bronx, NY, 10461                                                          Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Canon Financial Services, Inc.                                                                                             2,547.57
                                                                                                                             $________________________________
                                                                           Check all that apply.
    13824 Collection Center Drive                                             Contingent
                                                                              Unliquidated
    Chicago, IL, 60693-0138                                                   Disputed
                                                                           Basis for the claim:
                                                                                                   Equipment Lease Arrears

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Canon Solutions America, Inc.                                                                                              1,927.14
                                                                                                                             $________________________________
                                                                           Check all that apply.
    15004 Collections Center Drive                                            Contingent
                                                                              Unliquidated
     Chicago, IL, 60693-0150                                                  Disputed
                                                                           Basis for the claim:    Maintenance

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


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  Debtor          _______________________________________________________    Case number (if known)_____________________________________
                  Name                                         Pg 28 of 62
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             522.35
                                                                                                                       $________________________________
 Cintas Corporation #781                                                  Contingent
 LOC 781                                                                  Unliquidated
 PO Box 630803                                                            Disputed
 cincinnati, OH, 45263-0803
                                                                       Basis for the claim: Suppliers or Vendors



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         119.00
                                                                                                                       $________________________________
 College Board
 12192 Collection Center Drive                                            Contingent
                                                                          Unliquidated
 Chicago, IL, 60693                                                       Disputed

                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Halstead Quinn                                                        Check all that apply.
                                                                                                                        713.43
                                                                                                                       $________________________________
 PO Box 1044                                                              Contingent
                                                                          Unliquidated
 Mt. Kisco, NY, 10549                                                     Disputed
                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        1,263.19
                                                                                                                       $________________________________
 Halstead Quinn                                                        Check all that apply.
 PO Box 1044                                                              Contingent
                                                                          Unliquidated
 mount Kisco, NY, 10549                                                   Disputed

                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 JP McHale Pest Management, Inc.                                       Check all that apply.
                                                                                                                         375.00
                                                                                                                       $________________________________
 PO Box 98                                                                Contingent
                                                                          Unliquidated
 Montrose, NY, 10548                                                      Disputed
                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




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  Debtor          _______________________________________________________    Case number (if known)_____________________________________
                  Name                                         Pg 29 of 62
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             1,249.00
                                                                                                                       $________________________________
 Marshall Alarm Systems, Inc.                                             Contingent
 1767 Front Street                                                        Unliquidated
                                                                          Disputed
 Yorktown Heights, NY, 10598
                                                                       Basis for the claim: Suppliers or Vendors



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         121,042.00
                                                                                                                       $________________________________
 Mary Ivanyi
 101 Fairway Green                                                        Contingent
 Mamaroneck, NY, 10543                                                    Unliquidated
                                                                          Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 NRL Fire Protection Services, Inc.                                    Check all that apply.
                                                                                                                        403.50
                                                                                                                       $________________________________
 PO Box 194                                                               Contingent
                                                                          Unliquidated
 Monroe, CT, 6468                                                         Disputed
                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
 NYSEG                                                                 Check all that apply.
 PO Box 5600                                                              Contingent
                                                                          Unliquidated
 Ithaca, NY, 14852-5600                                                   Disputed

                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Optimum Cable                                                         Check all that apply.
                                                                                                                         4,310.49
                                                                                                                       $________________________________
 PO BOX 742698                                                            Contingent
                                                                          Unliquidated
 Cincinnati, OH, 45274-2698                                               Disputed
                                                                       Basis for the claim: Utility Services



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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  Debtor          _______________________________________________________    Case number (if known)_____________________________________
                  Name                                         Pg 30 of 62
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             1,335.65
                                                                                                                       $________________________________
 ReadyRefresh by Nestle                                                   Contingent
 PO Box 856192                                                            Unliquidated
                                                                          Disputed
 louisville, KY, 40285-6192
                                                                       Basis for the claim: Suppliers or Vendors



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         565.12
                                                                                                                       $________________________________
 Robison Oil
 55 South Main Street                                                     Contingent
 4th Floor                                                                Unliquidated
 port chester, NY, 10573                                                  Disputed

                                                                       Basis for the claim: Utility Services



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Silvio. R. J. Landscaping Inc.                                        Check all that apply.
                                                                                                                        6,800.00
                                                                                                                       $________________________________
 PO Box 337                                                               Contingent
                                                                          Unliquidated
 Mount Kisco, NY, 10549                                                   Disputed
                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        12,456.00
                                                                                                                       $________________________________
 Sprague Energy Solutions                                              Check all that apply.
 PO Box 5272                                                              Contingent
 Attn: Service Invoices                                                   Unliquidated
 new York, NY, 10008-5272                                                 Disputed

                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 Town of Yorktown Bldg Dept                                            Check all that apply.
                                                                                                                         0.00
                                                                                                                       $________________________________
 363 Underhill Avenue                                                     Contingent
                                                                          Unliquidated
 Yorktown Heights, NY, 10598                                              Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       
                                                                       ✔
                                                                           No
        Last 4 digits of account number         ___________________       Yes




       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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                  Name                                         Pg 31 of 62
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                       Check all that apply.                             0.00
                                                                                                                       $________________________________
 Town of Yorktown Engineering Dept.                                       Contingent
 363 Underhill Avenue                                                     Unliquidated
                                                                          Disputed
 Yorktown, NY, 10598
                                                                       Basis for the claim:



                                                                       Is the claim subject to offset?
        Date or dates debt was incurred         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
        Last 4 digits of account number         ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                         Unknown
                                                                                                                       $________________________________
 W. Glyn Hearn
 173 Maple Street                                                         Contingent
                                                                          Unliquidated
 Croton On Hudson, NY, 10520                                              Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         ___________________
                                                                       
                                                                       ✔
                                                                           No
                                                                          Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
 WB Mason Co., Inc.                                                    Check all that apply.
                                                                                                                        2,086.91
                                                                                                                       $________________________________
 PO BOX 981101                                                            Contingent
                                                                          Unliquidated
 Boston, MA, 02298-1101                                                   Disputed
                                                                       Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
        Last 4 digits of account number         __________________     
                                                                       ✔
                                                                           No
                                                                          Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $________________________________
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed

                                                                       Basis for the claim:



        Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                          No
        Last 4 digits of account number         ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $________________________________
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                       Basis for the claim:



        Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                          No
        Last 4 digits of account number         ___________________       Yes




       Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
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     Debtor         _______________________________________________________        Case number (if known)_____________________________________
                    Name                                             Pg 32 of 62
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Caine & Weiner
4.1.      Attn: David Hill                                                                          3.5
                                                                                               Line _____
          1699 East Woodfield Road #360                                                                                                         9810
                                                                                                                                                ________________
          Schaumburg, IL, 60173                                                                     Not listed. Explain:


          Hilpert Law Offices
4.2.
          75 South Riverside Avenue                                                            Line 3.23
                                                                                                    _____
          Croton On Hudson, NY, 10520                                                             Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __     14
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 Debtor        _______________________________________________________    Case number (if known)_____________________________________
               Name                                         Pg 33 of 62
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                          381,362.88
                                                                                                        $_____________________________




5b. Total claims from Part 2                                                                  5b.   +     206,480.59
                                                                                                        $_____________________________




5c. Total of Parts 1 and 2                                                                                587,843.47
                                                                                              5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                 page __     14
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 Fill in this information to identify the case:

             Soundview Preparatory School
 Debtor name __________________________________________________________________

                                         Southern District of New
 United States Bankruptcy Court for the:______________________          York
 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Employment Contract: Tom Curley,                  Tom Curley
         State what the contract or    Head of School
 2.1     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract

                                       Canon Copier                                      Canon Financial Services Inc.
         State what the contract or    Lessee                                            c/o Caine & Weiner
 2.2     lease is for and the nature
         of the debtor’s interest                                                        1699 East Woodfield Road #360
                                                                                         Schaumburg, IL, 60173
         State the term remaining
         List the contract number of
         any government contract

                                       Severance                                          Mary Ivanyi
         State what the contract or
                                                                                          101 Fairway Green
 2.3     lease is for and the nature
         of the debtor’s interest                                                         Mamaroneck, NY, 10543

         State the term remaining
         List the contract number of
         any government contract

                                       Real Property Contract of Sale                     Unicorn Contracting
         State what the contract or
 2.4                                                                                      10 Julia Lane
         lease is for and the nature
         of the debtor’s interest                                                         Cold Spring, NY, 10516

         State the term remaining
         List the contract number of
         any government contract

                                       Consulting Agreement                               W. Glyn Hearn
         State what the contract or
 2.5     lease is for and the nature
                                                                                          173 Maple Street
         of the debtor’s interest
                                                                                          Croton On Hudson, NY, 10520
         State the term remaining      June 30, 2022
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Soundview Preparatory School

                                         Southern District of New York
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                       _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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 Fill in this information to identify the case and this filing:

              Soundview Preparatory School
 Debtor Name __________________________________________________________________

                                         Southern District of New York
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    08/19/2020
        Executed on ______________                          /s/ Kelly Fairweather
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Kelly Fairweather
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chair of the Board of Trustees
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
             Soundview Preparatory School
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern                    District of _________
                                                 District of New York
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
            may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                            Operating a business                                0.00
           fiscal year to filing date:           01/01/2020
                                           From ___________         to     Filing date         
                                                                                               ✔ Other                              $_____________________
                                                  MM / DD / YYYY


           For prior year:                       07/01/2019
                                           From ___________         to     01/31/2020
                                                                           ___________          Operating a business                        1,694,755.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             07/01/2018
                                           From ___________         to     ___________          Operating a business                        2,011,792.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                                                                           9,520.00
                                                                                               ___________________________
                                                                                              Sale of Miscellaneous Assets         $__________________
           fiscal year to filing date: From 01/01/2020
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 07/01/2019
                                                ___________         to      01/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                         0.00
                                                                                                                                   $__________________



           For the year before that:       From 07/01/2018
                                                ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                         0.00
                                                                                                                                   $__________________




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Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________       ________        $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



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Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Kirby Aisner & Curley LLP
            __________________________________________        Legal Fees
   11.1.                                                                                                                 8/12/2020
                                                                                                                         ______________      $_________
                                                                                                                                               5,000.00
            Address

            700 Post Road
            Suite 237
            Scarsdale, NY 10583




            Email or website address
            www.kacllp.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Kirby Aisner & Curley LLP
            __________________________________________        Legal Fees
   11.2.                                                                                                                 08/03/2020
                                                                                                                         ______________      $_________
                                                                                                                                               12,717.00

            Address
            700 Post Road
            Suite 237
            Scarsdale, NY 10583


            Email or website address


            www.kacllp.com
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value


                                                               See attached list                                          06/30/2020            5,000.00
   13.1.     Mark Jacobs
            __________________________________________                                                                    ________________     $_________

            Address
            Longview School




            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                                                                           06/23/2020            2,000.00
                                                                                                                          ________________     $_________
                                                               School Chairs, Banquet Tables, Picnic Tables,
   13.2.
            Frank Snyder                                       White Boards, Water Coolers and Lockers
            __________________________________________

            Address
            San Miguel Academy
            245 Renwick Street
            Newburgh, NY 12550




            Relationship to debtor
            None
            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                              Location where patient records are maintained (if different from facility
                                                              address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                              Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                 
                 ✔   Yes. Fill in below:
                        Name of plan                                                                            Employer identification number of the plan
                        403(b) TIAA 2 Plans - 1TDA; 1DCP
                        _______________________________________________________________________                 EIN: ___________________________________

                     Has the plan been terminated?
                      No
                     ✔
                           Yes



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Debtor            Soundview Preparatory School
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     Putnam County Bank
             ______________________________________        XXXX–__________                 Checking                  01/01/2020
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
                                                                                           
                                                                                           ✔ Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   Soundview Preparatory School
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              James J. Reilly and Dan Doremus,                                                                From _______
   26a.1.     __________________________________________________________________________________
              Name
              Condon O'Meara MAcGinty & Donnelly LLP, One Battery Park Plaza, 7th Floor, New                  To _______
              York, NY 10004




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor           _______________________________________________________                        Case number (if known)_____________________________________
                 Name




            Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                               inventory        other basis) of each inventory

            ______________________________________________________________________             _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest       % of interest, if any
 Kelly Fairweather                           247 Wood Street, Mahopac, NY 10541                       Board of Trustees                       0.00


 Jeffrey Silva                               24 Putney Road, Baldwin Place, NY 10505                  Board of Trustees


 Gregory Roberts                             269 Bryant Avenue, White Plains, NY 10605                Board of Trustees


 Linda Holden-Bryant                         70 Undercliff Street, Yonkers, NY 10705                  Board of Trustees


 Stuart Vance                                599 Manville Road, Pleasantville, NY 10570               Board of Trustees


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                  Position and nature of any   Period during which position
                                                Address                                                  interest                     or interest was held


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________


                                                                                                                                       _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                       Amount of money or description     Dates               Reason for providing
            Name and address of recipient                                              and value of property                                  the value

   30.1.    Tom  Curley                                                                                                                      Salary:
            ______________________________________________________________             19,014.04
                                                                                       _________________________          _____________
            Name                                                                                                                             $15,208.34 per
            55 East Street                                                                                                                   month for July 2019
            South Salem, NY 10590                                                                                         _____________      - January 2020
                                                                                                                                             $2,500.00 per month
                                                                                                                                             for February 2020 -
                                                                                                                          _____________      May 2020.

            Relationship to debtor                                                                                        _____________
            Head of School
            ______________________________________________________________                                                _____________
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Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
            No
     
     ✔       Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund
              403(b) TIAA 2 Plans - 1TDA; 1DCP
              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       08/19/2020
                               _________________
                                MM / DD / YYYY



              /s/ Kelly Fairweather
              ___________________________________________________________                              Kelly Fairweather
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Chair of the Board of Trustees
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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 Debtor Name                                                                             Case number (if known)



                                                  Continuation Sheet for Official Form 207
11) Payments related to bankruptcy

Kirby Aisner & Curley LLP                     700 Post Road Suite 237,                $2,500.00
                                              Scarsdale, NY 10583


13) Transfers not already listed on this statement

Transferee: Andrea Ayala Flores

9 Rochambeau Drive, Apt. 9F, Yorktown Heights, NY 10598

Date of Transfer: 05/14/2020

Description: 2 Bookcases

Value: $70.00

---

Transferee: Alex Smith


Date of Transfer: 05/05/2020

Description: Audio Interface Zoom, ADAT Expander, Ibane Bass Guitar,
Microphone Stands, MXL Voice Microphone and Baffle

Value: $630.00

---

Transferee: David Go

525 Copper Square Dr., Bethel, CT 06801

Date of Transfer: 05/03/2020

Description: Electric Piano, Yamaha Keyboard, Music Stand and Alesis Keyboard

Value: $1,020.00

---

Transferee: Tom and Nina Curley


Date of Transfer: 08/01/2020

Description: $800

Value: $800.00

---


28) Additional people in control of the debtor at the time of the filing of this case

James Cooper                                  32 Stiles Lane,




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 Debtor Name                                                                             Case number (if known)



                                                  Continuation Sheet for Official Form 207
Greenwich, CT 06831

David Hartheimer                              48 Seneca Street, Dobbs
                                              Ferry, NY 10522




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                             United States Bankruptcy Court
                              Southern District of New York




         Soundview Preparatory School
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              08/19/2020                        /s/ Kelly Fairweather
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Chair of the Board of Trustees
                                                Position or relationship to debtor
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ADP Payroll Service                                     Canon Financial Services, Inc.
1266 E. Main Street                                     13824 Collection Center Drive
Stamford, CT 06902                                      Chicago, IL 60693-0138


Andrea Ayala Flores                                     Canon Solutions America, Inc.
9 Rochambeau Drive, Apt. 9F                             15004 Collections Center Drive
Yorktown Heights, NY 10598                              Chicago, IL 60693-0150


Andy Neuberger                                          Christina Lai & Craig Elkind
44 Old Roaring Brook Road                               58 Close Road
Mt. Kisco, NY 10549                                     Greenwich, CT 6831


Ann Marie & Robert B. Alonzi                            Christine & Barry Edelman
5 Scott Lane                                            2370 Sherry Drive
Greenwich, CT 06831                                     Yorktown Heights, NY 10598


Ava & Benjamin Kahr                                     Cindy J Cassuto
22 Western Drive                                        64 Morningside Drive
Ardsley, NY 10502                                       Ossining, NY 10562


Bank of America                                         Cintas Corporation #781
PO Box 15796                                            LOC 781
Wilmington, DE 19886-5796                               PO Box 630803
                                                        cincinnati, OH 45263-0803

Bank of America
343 Main Street                                         College Board
Danbury, CT 06810                                       12192 Collection Center Drive
                                                        Chicago, IL 60693

Bonnie & Scott Silver
64 Sprucetop Drive                                      County of Westchester Industrial Development
Mahopac, NY 10541-7002                                  148 Martine Avenue
                                                        Room 903
                                                        White Plains, NY 10601
Bronx Design Group
2914 Westchester Avenue
Bronx, NY 10461                                         Craig Colavito
                                                        21 Maples Avenue
                                                        Chappaqua, NY 10514
Buchanan Ingersoll & Rooney PC
501 Grant Street, Ste 200
Attn: Christopher Schueller, Esq.                       Danielle & Eric Barr
Pittsburgh, PA 15219-4413                               2273 Sultana Drive
                                                        Yorktown Heights, NY 10598

Caine & Weiner
Attn: David Hill                                        Deborah & James Notis
1699 East Woodfield Road #360                           12 Vista Court
Schaumburg, IL 60173                                    Pleasantville, NY 10570


Canon Financial Services Inc.                           Diane Cassara-Smith
c/o Caine & Weiner                                      7 Carriage Court
1699 East Woodfield Road #360                           Scarsdale, NY 10583
Schaumburg, IL 60173
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Elizabeth Mallon & Gerard Buckley                       Kimberly Panzanaro
100 Austin Road                                         1480 Riverview Avenue
Mahopac, NY 10541                                       Peekskill, NY 10566


Gale & R. George Roberts                                Linda Holden-Bryant & Jay Bryant
269 Bryant Avenue                                       70 Undercliff Street
White Plains, NY 10605                                  Yonkers, NY 10706


Gennifer Birnbach & Philippe Hoffman                    Lisa A. Cardile
533 Saw Mill River Road                                 42 Hunt Farm Road
Yorktown Heights, NY 10598                              Waccabuck, NY 10597-1102


Halstead Quinn                                          Madeleine Glick
PO Box 1044                                             22 Berrybush Lane
Mt. Kisco, NY 10549                                     Hastings on Hudson, NY 10706


Halstead Quinn                                          Marie-Claire & Michael Flynn
PO Box 1044                                             127 Harwood Avenue
mount Kisco, NY 10549                                   Sleepy Hollow, NY 10591


Hilpert Law Offices                                     Marshall Alarm Systems, Inc.
75 South Riverside Avenue                               1767 Front Street
Croton On Hudson, NY 10520                              Yorktown Heights, NY 10598


Hsiao-Li Chou & John Kaufman                            Mary Ivanyi
6 Hudson Terrace                                        101 Fairway Green
Dobbs Ferry, NY 10522-2104                              Mamaroneck, NY 10543


Internal Revenue Service                                Melanie & Anthony Sindaco
Centralized Insolvency Operations                       2754 Old Yorktown Road
P.O. Box 7346                                           Yorktown Heights, NY 10598
Philadelphia, PA 19101-7346

                                                        Melissa Molina
John McArthur                                           3985 Gouverneur Ave. Apt. F
520 N. Terrace Avenue Unit 1L                           Bronx, NY 10463
Mount Vernon, NY 10552

                                                        Michael Curti, Esq.
JP McHale Pest Management, Inc.                         Harris Beach PLLC
PO Box 98                                               445 Hamilton Avenue
Montrose, NY 10548                                      White Plains, NY 10601


Katrine Bangsgaard & William Kline Jr.                  Michael Lubin
                                                        53 Carthage Road
1109 Davenport Lane                                     Scarsdale, NY 10583
Yorktown Heights, NY 10598

                                                        Molly Weddinf & John Pretnar
Kimberly Panzanaro                                      1780 Strawberry Road
1480 Riverview Avenue                                   Mohegan Lake, NY 10547
Peekskill, NY 10566-4811
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Molly Wedding & Jon Pretnar                              Rosaria & John Iannacito
1780 Strawberry Road                                     11 Gainsborough Road
Mohegan Lake, NY 10547                                   Scarsdale, NY 10563-4811


Mr. & Mrs. Siegfried York Ast                            Sandra Giorno-Tocco, AAG
217 South Buckhout Street                                Office of the NYS Attorney General
Irvington, NY 10533                                      44 South Broadway, 5th Floor
                                                         White Plains, NY 10601

NRL Fire Protection Services, Inc.
PO Box 194                                               Shandizet & Kenny Lopez
Monroe, CT 6468                                          3483 Old Compond Road
                                                         Yorktown Heights, NY 10598

NYC Corporation Counsel
100 Church Street, RM 5-240                              Silvio. R. J. Landscaping Inc.
Attn: Bankruptcy Dept.                                   PO Box 337
New York, NY 10007                                       Mount Kisco, NY 10549


NYC Dept. of Finance                                     Sprague Energy Solutions
345 Adams Street, 3rd Floor                              PO Box 5272
Brooklyn, NY 11201                                       Attn: Service Invoices
                                                         new York, NY 10008-5272

NYS Dept. Taxation & Finance
Bankruptcy/ Special Procedures Section                   Stacy DeBonis & John Giordano
P.O. Box 5300                                            3 Thorne Place
Albany, NY 12205-0300                                    Rye, NY 10580


NYSEG                                                    Tom Curley
PO Box 5600                                              55 East Street
Ithaca, NY 14852-5600                                    South Salem, NY 10590


Olga and Norman Steiner                                  Tom Curley
1518 Washington Street
Cortlandt Manor, NY 10567
                                                         Town of Yorktown - Water Bill
                                                         Yorktown Heights, NY 10598
Optimum Cable
PO BOX 742698
Cincinnati, OH 45274-2698                                Town of Yorktown Bldg Dept
                                                         363 Underhill Avenue
                                                         Yorktown Heights, NY 10598
Rachel & Jeffrey Silva
24 Putney Road
Baldwin Place, NY 10505                                  Town of Yorktown Engineering Dept.
                                                         363 Underhill Avenue
                                                         Yorktown, NY 10598
ReadyRefresh by Nestle
PO Box 856192
louisville, KY 40285-6192                                Town of Yorktown Receiver of Taxes
                                                         PO Box 703
                                                         Yorktown Heights, NY 10598
Robison Oil
55 South Main Street
4th Floor                                                Unicorn Contracting
port chester, NY 10573                                   10 Julia Lane
                                                         Cold Spring, NY 10516
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Vanessa Wassenar
134 Wayforest Drive
Venice, FL 34292


W. Glyn Hearn
173 Maple Street
Croton On Hudson, NY 10520


WB Mason Co., Inc.
PO BOX 981101
Boston, MA 02298-1101
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                                      United States Bankruptcy Court
                                                             Southern District of New York
                                               __________________________________
     In re   Soundview Preparatory School

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         5,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         350.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
The professional services Kirby Aisner & Curley LLP will render to the Debtor include the following:
a. To give advice to the Debtor with respect to its powers and duties as Debtor in Possession and the continued management of its property and
affairs.

b. To negotiate with creditors of the Debtor and work out a plan of reorganization and take the necessary legal steps in order to effectuate such a
plan including, if need be, negotiations with the creditors and other parties in interest.

c. To prepare the necessary answers, orders, reports and other legal papers required for the Debtor?s protection from its creditors under Chapter 11
of the Bankruptcy Code.

d. To appear before the Bankruptcy Court to protect the interest of the Debtor and to represent the Debtor in all matters pending before the Court.

e. To attend meetings and negotiate with representatives of creditors and other parties in interest.

f. To advise the Debtor in connection with any potential sale of the business.

g. To represent the Debtor in connection with obtaining post-petition financing, if necessary.

h. To take any necessary action to obtain approval of a disclosure statement and confirmation of a plan of reorganization.

i. To perform all other legal services for the Debtor which may be necessary for the preservation of the Debtor?s estate and to promote the best
interests of the Debtor, its creditors and its estate.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation in an Adversary Proceeding, subject to further agreement with the Debtor.
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       08/19/2020                       /s/ Erica Aisner, 4106084
     _____________________             _________________________________________
     Date                                    Signature of Attorney
                                        Kirby Aisner & Curley LLP
                                       _________________________________________
                                             ​Name of law firm
                                        700 Post Road
                                        Suite 237
                                        Scarsdale, NY 10583
                                        (914) 401-9500
                                        eaisner@kacllp.com
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------- X
In re:
                                                                             Chapter 11
SOUNDVIEW PREPARATORY SCHOOL                                                 Case No.: 20-

                                                      Debtor.
------------------------------------------------------------------- X

       STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Kelly Fairweather, declare under penalty of perjury that I am the Chair of the Board of
Trustees of Soundview Preparatory School, and that the following is a true and correct copy of
the resolutions adopted by the Board of Trustees of said corporation at a special meeting duly
called and held telephonically on July 17, 2020 at 10:00 a.m. The meeting was attended by all
but one member of the Board of Trustees, all of those trustees voted unanimously in favor of the
following resolutions.

       "Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

         Be It Therefore Resolved that Kelly Fairweather, Chair of the Board of Trustees, of this
corporation, is authorized and directed to execute and deliver all documents necessary to perfect
the filing of a chapter 11 voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Kelly Fairweather, Chair of the Board of Trustees, of this
corporation is authorized and directed to appear in all bankruptcy proceedings on behalf of the
corporation, and to otherwise do and perform all acts and deeds and to execute and deliver all
necessary documents on behalf of the corporation in connection with such bankruptcy case, and

       Be It Further Resolved that Kelly Fairweather, Chair of the Board of Trustees, of this
corporation is authorized and directed to employ Kirby Aisner & Curley LLP to represent the
corporation in such bankruptcy case."

Dated: Yorktown, New York
       August 19, 2020
                                                      SOUNDVIEW PREPARATORY SCHOOL


                                                      By:
                                                               Kelly Fairweather
                                                               Chair of the Board of Trustees
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                               Resolution of Board of Trustees
                                              of
                           SOUNDVIEW PREPARATORY SCHOOL

       Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

         Be It Therefore Resolved, that Kelly Fairweather, Chair of the Board of Trustees, of this
corporation, is authorized and directed to execute and deliver all documents necessary to perfect
the filing of a chapter 11 voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Kelly Fairweather, Chair of the Board of Trustees, of this
corporation is authorized and directed to appear in all bankruptcy proceedings on behalf of the
corporation, and to otherwise do and perform all acts and deeds and to execute and deliver all
necessary documents on behalf of the corporation in connection with such bankruptcy case, and

       Be It Further Resolved, that Kelly Fairweather, Chair of the Board of Trustees, of this
corporation is authorized and directed to employ Kirby Aisner & Curley LLP to represent the
corporation in such bankruptcy case.

Dated: Yorktown, New York
       August 19, 2020


                                               By:
                                                      Kelly Fairweather
                                                      Chair of the Board of Trustees
